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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

INVENSAS CORPORATION, et al.,

                  Plaintiffs,

           V.                                    Civil Action No. 19-861-RGA

NVIDIA CORPORATION,

                  Defendant.


                  ORDER SETTING RULE 16(b) CONFERENCE

      1.   A scheduling conference pursuant to Fed. R. Civ. P. 16(b) will be held on Friday,
           August 23, 2019, at 9:00 a.m., in the Chambers of the Honorable Richard G.
           Andrews, Room 6325 of the Boggs Federal Building, 844 King Street,
           Wilmington, Delaware. Plaintiffs' counsel shall coordinate a dial in number for
           out of town counsel wishing to participate but not physically being able to do so.

     2.    Parties shall confer about scheduling and discovery limitations, and attempt to
           reach agreement. The parties shall use as a basis for discussion the Court's "Rule
           16 Scheduling Order-patent," available on the Court's website. No later than 48
           hours before the scheduling conference, the parties shall file a proposed
           scheduling order using the "Rule 16 Scheduling Order - patent."

     3.    The parties shall direct any requests or questions regarding the scheduling or
           management of this case to the Court's Case Manager at (302) 573-6137.




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